                             UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)

    Andrew K. Glenn (pro hac vice pending)
    Kurt Mayr (pro hac vice pending)
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    Bondholders

                                                                      Case No.:        23-13359-VFP
    In re:
                                                                      Chapter:         11
    BED BATH & BEYOND INC., et al.,
                                                                      Judge:           Hon. Vincent F. Papalia

                                    Debtors.1



                                       NOTICE OF APPEARANCE

        Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters
an appearance in this case on behalf of the Ad Hoc Committee of Bondholders. Request is made
that the documents filed in this case and identified below be served on the undersigned at this
address:

                  Agustina G. Berro

1
 The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
cases is 650 Liberty Avenue, Union, New Jersey 07083.
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DOCUMENTS:

            ☒ All notices entered pursuant to Fed. R. Bankr. P. 2002.

            ☒ All documents and pleadings of any nature.


Dated: May 22, 2023                           /s/ Agustina G. Berro_________
